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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                  4:09CR3031
                                         )
             V.                          )
                                         )
MICHAEL KONING,                          )                 MEMORANDUM
LOWELL BAISDEN,                          )                  AND ORDER
SUSAN BAISDEN-KONING,                    )
                                         )
                    Defendants.          )
                                         )


       Pending before me are a Findings and Recommendation and a related Order
(filing no. 153) to which objection has been made. With one exception, I deny the
Objections and adopt the Findings and Recommendation and related Order.

      Where appropriate, I have conducted a de novo review. To the extent that the
objections assert an appeal from an order, I have treated such an objection as an
appeal.

      In general, there is no need for me to rehash Judge Zwart’s thoughtful work.
With the exception noted below, I adopt or affirm, as the case may be, Judge Zwart’s
decision without further elaboration because she has it right and I could do no better.

       The exception deals with Michael Koning’s motion to “Return or Destroy
Inadvertently Disclosed Documents Protected by the Attorney Client Privilege”
(filing no. 27). After consideration of the motion, Judge Zwart’s examination of the
motion, the objection, and the briefs, I think it prudent to remand this matter to Judge
Zwart for further analysis. Specifically, I want to know:
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      *     How did the lawyer’s letter to Koning or Koning’s response to the
            lawyer have the tendency to further a crime or fraud? What
            evidence is there to support the government’s assertion that the
            foregoing documents had the tendency to further a crime or
            fraud?

      *     Assuming, without deciding, that the attorney-client privilege
            pertains to the lawyer’s letter to Koning or Koning’s response (or
            both), does the inadvertent disclosure provision of Federal Rule
            of Evidence 502(b) protect Koning from the consequences of the
            disclosure? What evidence is there to support the answer to the
            foregoing question?

      It will be necessary for Judge Zwart to give the government and Koning an
opportunity to present evidence on both of these questions and such subsidiary
questions as may arise. It will also be necessary for Judge Zwart to give the
government and Koning an opportunity to submit additional briefs. After that, I will
need a written ruling and an opinion from Judge Zwart.

      With the foregoing in mind,

      IT IS ORDERED that:

      1.    The Findings and Recommendations and related Order (filing no. 153)
            is adopted or affirmed except as it regards Michael Koning’s motion to
            “Return or Destroy Inadvertently Disclosed Documents Protected by the
            Attorney Client Privilege” (filing no. 27).

      2.    Michael Koning’s Objection (filing no. 155) to the Findings and
            Recommendation is denied except as it regards Michael Koning’s

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            motion to “Return or Destroy Inadvertently Disclosed Documents
            Protected by the Attorney Client Privilege” (filing no. 27).

      3.    This matter is remanded to Judge Zwart to reconsider Michael Koning’s
            motion to “Return or Destroy Inadvertently Disclosed Documents
            Protected by the Attorney Client Privilege” (filing no. 27) in a manner
            consistent with this Memorandum and Order.

      4.    Defendant Lowell Baisden’s Objection (filing no. 162), Defendant
            Lowell Baisden’s Motion to Dismiss or, alternatively, to Suppress
            Evidence (filing no. 113), and for an order Compelling the Government
            to Disclose Information Baisden Needs to Pursue his Motion to Dismiss
            (filing no. 136), are denied.

      5.    Defendant Michael Koning’s motion to compel “Specific Discovery
            Concerning Prospective Witness Disqualification” (filing no. 75) is
            denied.

      6.    Defendant Michael Koning’s Motion to Compel (filing no. 77) is
            granted in part, and denied in part, as ordered by Judge Zwart.

      7.    Lowell Baisden’s Motion for Rule 17.1 Conference (filing no. 87) is
            granted in part, and denied in part, as ordered by Judge Zwart.

      DATED this 8th day of February, 2011.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     United States District Judge


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